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Dated at New Haven, Connecticut, this 12th day of June 2020.

                                                  ROBIN D. TABORA, Clerk

                                                  By:   /s/ Donna Barry
                                                        Deputy Clerk

EOD: June 12, 2020
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                                            EXHIBIT 1

                                      SETTLEMENT AGREEMENT

         This Settlement Agreement (“Agreement”) is entered into among the United States of

America, acting through the United States Department of Justice and on behalf of the Office of

Inspector General (“OIG-HHS”) of the Department of Health and Human Services (“HHS”),

(collectively the "United States"); the State of Connecticut, acting through the Attorney General

of the State of Connecticut (collectively the “State of Connecticut”); Your Eyes of New Britain,

Inc. (“Your Eyes”) and Carol Sanderson (“Sanderson”), (Your Eyes and Sanderson collectively

referred to as “Defendants”); (all entities and individuals set forth above are hereafter

collectively referred to as “the Parties”), through their authorized representatives.

                                            RECITALS

A.       Your Eyes is an optician group located in New Britain, Connecticut. Carol Sanderson is

the owner of Your Eyes.

B.       The United States and the State of Connecticut contend that Defendants submitted or

caused to be submitted claims for payment to the Medicaid Program, 42 U.S.C. §§ 1396-

1396w-5 (“Medicaid”).

C.      The United States and the State of Connecticut contend that they have certain civil claims

against Defendants arising out of Defendants submitting, or causing to be submitted, claims to

Medicaid for certain optical services. CPT code 92340, “Fitting services,” reimburses an optician

for fitting a patient with a new pair of glasses, and includes reimbursement for the final

adjustment and fitting of glasses. The final fitting or adjustment of a new pair of glasses is not a

separate service. The United States and the State of Connecticut contend that Defendants

improperly billed Medicaid when dispensing a new pair of glasses by submitting a claim for both

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CPT code 92340 for the initial fitting and for CPT code 92370 for a final fitting or adjustment.

The Medicaid payment for a claim for CPT code 92370, “Repair and Refitting services,” is

intended to reimburse an optician for a repair of the glasses, and any necessary subsequent

refitting. Instead of providing repair services, Defendants were providing final adjustments to

glasses, which was a service included in the fitting, billed pursuant to CPT code 92340. The

United States and the State of Connecticut contend that these CPT code 92370 claims for the

final fitting of a pair of new glasses constituted false or fraudulent claims submitted to the

Medicaid program during the time period January 1, 2014, to April 30, 2019. The conduct

detailed in this paragraph is referred to below as the “Covered Conduct.”

D.       This Settlement Agreement is neither an admission of liability by Your Eyes and

Sanderson, nor a concession by the United States or the State of Connecticut that their claims are

not well-founded. The Defendants deny the United States’ and the State of Connecticut’s

allegations in Paragraph C.

         To avoid the delay, uncertainty, inconvenience, and expense of protracted litigation of the

above claims, and in consideration of the mutual promises and obligations of this Settlement

Agreement, the Parties agree and covenant as follows:

                                      TERMS AND CONDITIONS

         1.       Your Eyes and Carol Sanderson shall pay to the United States and the State of

Connecticut pursuant to this Settlement Agreement, a total of Two Hundred Sixty Three

Thousand Four Hundred Eighty Eight Dollars and Fifty Cents ($263,488.50) (the “Settlement

Amount”), plus interest, of which One Hundred Seventy-Five Thousand Six Hundred Fifty Nine

Dollars ($175,659.00) is restitution by Your Eyes and Sanderson. Your Eyes and Sanderson are

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jointly and severally liable for the Settlement Amount. Your Eyes and Sanderson agree that the

Settlement Amount shall be paid by electronic funds transfer pursuant to written instructions to

be provided by the United States Attorney’s Office for the District of Connecticut and shall be

satisfied as follows:

         a. Your Eyes and Sanderson agree to give up and release all right, title, and interest to all

         Connecticut Medical Assistance Program (“CMAP”) funds that have been suspended

         and/or retained by the State of Connecticut, in the amount of $65,078.50 (the “Suspended

         Amounts”). Your Eyes and Sanderson agree that the calculation of the Suspended

         Amounts is accurate and that no further monies related to the Suspended Amounts are

         due and owing to Your Eyes and Sanderson from the State of Connecticut or from the

         United States. Your Eyes and Sanderson agree that the United States and the State of

         Connecticut shall retain the Suspended Amounts forevermore. Your Eyes and Sanderson

         expressly relinquish any and all rights of any kind that they may have with respect to the

         Suspended Amounts, including, but not limited to, any and all claims or rights to have an

         overpayment determined, any and all rights to payment of those funds, and any and all

         rights to appeal, whether formally or informally and whether administratively or

         judicially, the right of the United States and/or the State of Connecticut to retain those

         funds, and any other rights Your Eyes and Sanderson may have to challenge the

         Suspended Amounts in any respect. Your Eyes and Sanderson further agree to execute

         any documents necessary to effectuate the release of Your Eyes and Sanderson’s right,

         title, and interest in the Suspended Amounts.




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         b. The remaining One Hundred Ninety Eight Thousand Four Hundred Ten Dollars

         ($198,410.00), plus interest, pursuant to the payment schedule attached hereto as Exhibit

         A. Interest will be charged at the rate of 1.75%, compounded monthly. Your Eyes and

         Sanderson agree to execute, contemporaneously with this Agreement, a Stipulated

         Judgment, in the form attached hereto as Exhibit B. On or after the Effective Date of the

         Agreement, the United States and the State of Connecticut will file a civil complaint

         against Your Eyes and Sanderson in the United States District Court for the District of

         Connecticut. Promptly after the filing of the civil complaint, the United States and the

         State of Connecticut will file a motion, on consent, for entry of a judgment in favor of the

         United States and the State of Connecticut, and against Your Eyes and Sanderson, as set

         forth in the Stipulated Judgment, and the United States and the State of Connecticut will

         file the Stipulated Judgment with the Court. The entire balance of the Settlement

         Amount, or any portion thereof, plus any interest accrued on the principal as of the date

         of any prepayment, may be prepaid without penalty.

         2.       In the event that Your Eyes and Sanderson fail to pay any portion of the

Settlement Amount as provided by paragraph 1 above, and the attached payment schedule,

within ten (10) business days of the date upon which each such payment is due, Your Eyes and

Sanderson shall be in Default of their payment obligations (“Default”). The United States and/or

the State of Connecticut will provide a written Notice of Default, and Your Eyes and Sanderson

shall have an opportunity to cure such Default within ten (10) business days from the date of

receipt of the Notice of Default. Notice of Default will be sent to Jody Erdfarb, Esq., Wiggin

and Dana, One Century Tower, P.O. Box 1832, New Haven, Connecticut 06508, and to Your

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Eyes and Carol Sanderson at 198 East Main Street, New Britain, Connecticut 06051. If Your

Eyes and Sanderson fail to cure the Default within ten (10) business days of receiving the Notice

of Default, the remaining unpaid balance of the Settlement Amount shall become immediately

due and payable, and interest on the remaining unpaid balance shall thereafter accrue at the rate

of 12% per annum, compounded daily from the date of Default, on the remaining unpaid total

(principal and interest balance). In the event of Default, the United States and the State of

Connecticut, at their sole discretion, may (a) take any action to execute and collect on the

Stipulated Judgment against Your Eyes and Sanderson; (b) declare this Agreement breached, and

proceed against Your Eyes and Sanderson for any claims, including those to be released by this

agreement; (c) file an action for specific performance of the Agreement and/or the Stipulated

Judgment; (d) offset the remaining unpaid balance, inclusive of interest, from any amounts due

and owing to Your Eyes and Sanderson by any department, agency, or agent of the United States

or the State of Connecticut at the time of Default; (e) exercise any other right granted by law, or

under the terms of this Agreement, or recognizable at common law or in equity.

         Your Eyes and Sanderson agree not to contest any offset imposed and not to contest any

collection action undertaken by the United States or the State of Connecticut pursuant to this

Paragraph, either administratively or in any state or federal court, except on the grounds of actual

payment to the United States or the State of Connecticut. In the event of Default, as defined

above, and at their sole option, the United States and the State of Connecticut alternatively may

rescind this Agreement and bring any civil and/or administrative claim, action, or proceeding

against Your Eyes and Sanderson for the claims that would otherwise be covered by the releases

provided in Paragraphs 3 and 4, below. In the event that the United States or the State of

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Connecticut opt to rescind this Agreement pursuant to this Paragraph, Your Eyes and Sanderson

agree not to plead, argue, or otherwise raise any defenses of statute of limitations, laches,

estoppel or similar theories, to any civil or administrative claims that are (a) filed by the United

States or the State of Connecticut against Your Eyes and Sanderson within 120 days of written

notification that this Agreement has been rescinded, and (b) relate to the Covered Conduct,

except to the extent these defenses were available on or before the Effective Date of this

Agreement.

         3.       Subject to the exceptions in Paragraph 7 (concerning excluded claims) below, and

conditioned upon Your Eyes and Carol Sanderson’s full payment of the Settlement Amount, and

subject to Paragraph 17 below (concerning bankruptcy proceedings commenced within 91 days

of the Effective Date of this Agreement or any payment made under this Agreement), the United

States releases Your Eyes and Sanderson from any civil or administrative monetary claim the

United States has for the Covered Conduct under the False Claims Act, 31 U.S.C. §§ 3729-3733;

the Civil Monetary Penalties Law, 42 U.S.C. § 1320a-7a; the Program Fraud Civil Remedies

Act, 31 U.S.C. §§ 3801-3812; or the common law theories of payment by mistake, unjust

enrichment, and fraud.

         4.       Subject to the exceptions in Paragraph 7 (concerning excluded claims) below, and

conditioned upon Your Eyes and Sanderson’s full payment of the Settlement Amount, and

subject to Paragraph 17 below (concerning bankruptcy proceedings commenced within 91 days

of the Effective Date of this Agreement or any payment made under this Agreement), the State

of Connecticut releases Your Eyes and Sanderson from any civil claims the State of Connecticut

has, or could have asserted for the Covered Conduct under, Conn. Gen. Stat. §4-274 et seq.

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(Connecticut State False Claims Act), and the common law theories of payment by mistake,

unjust enrichment, and fraud.

         5.      In the event of a Default as defined in Paragraph 2, above, which is not cured by

Your Eyes and Sanderson pursuant to Paragraph 2, OIG-HHS may exclude Your Eyes and

Sanderson from participating in all Federal health care programs until Your Eyes and Sanderson

pay the Settlement Amount as set forth in Paragraph 1, above. OIG-HHS will provide written

notice of any such exclusion to Your Eyes and Carol Sanderson. Your Eyes and Sanderson

waive any further notice of the exclusion under 42 U.S.C. § 1320a-7(b)(7), and agree not to

contest such exclusion either administratively or in any state or federal court. Reinstatement to

program participation is not automatic. If at the end of the period of exclusion Your Eyes and

Sanderson want to apply for reinstatement, Your Eyes and Sanderson must submit a written

request for reinstatement to OIG-HHS in accordance with the provisions of 42 C.F.R. §§

1001.3001-.3005. Your Eyes and Sanderson will not be reinstated unless and until OIG-HHS

approves such request for reinstatement.

         6.      In the event of a Default as defined in Paragraph 2, above, which is not cured by

Your Eyes and Sanderson pursuant to Paragraph 2, the State of Connecticut may suspend Your

Eyes and Sanderson from participating in all state administered health or human service

programs until Your Eyes and Sanderson pay the Settlement Amount as set forth in Paragraph 1,

above. The State of Connecticut will provide written notice of any such suspension to Your

Eyes and Carol Sanderson. Your Eyes and Sanderson waive any further notice of the suspension

under Regulations of Connecticut State Agencies Section 17-83k-1, et seq., and agree not to

contest such suspension either administratively or in any state or federal court. Reinstatement to

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program participation is not automatic. If at the end of the period of suspension Your Eyes and

Sanderson want to apply for reinstatement, Your Eyes and Sanderson must submit a written

request for reinstatement to the State of Connecticut in accordance with the provisions of

Regulations of Connecticut State Agencies Section 17-83k-7. Your Eyes and Sanderson will not

be reinstated unless and until the State of Connecticut approves such request for reinstatement.

         7.       Notwithstanding the releases given in Paragraphs 3 and 4 of this Settlement

Agreement, or any other term of this Settlement Agreement, the following claims of the United

States and the State of Connecticut are specifically reserved and are not released:

                  a.       Any liability arising under Title 26, U.S. Code (Internal Revenue Code);

                  b.       Any liability arising under the laws and regulations that are administered

                           and enforced by the State of Connecticut Department of Revenue

                           Services;

                  c.       Any criminal liability;

                  d.       Except as explicitly stated in this Settlement Agreement, any civil or

                           administrative liability that any person or entity has or may have to the

                           State or to individual consumers or state program payors under any statute,

                           regulation or rule not expressly covered by the release in Paragraph 4

                           above, including, but not limited to, any and all of the following claims: (i)

                           State or federal antitrust violations; (ii) claims involving unfair and/or

                           deceptive acts and practices and/or violations of consumer protection

                           laws;




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                  e.       Except as explicitly stated in this Settlement Agreement, any

                           administrative liability to the United States, including mandatory or

                           permissive exclusion from Federal health care programs;

                  f.       Except as explicitly stated in this Settlement Agreement, any

                           administrative liability to the State of Connecticut Department of Social

                           Services, including suspension from the CMAP;

                  g.       Any liability to the United States or the State of Connecticut (or their

                           agencies) for any conduct other than the Covered Conduct;

                  h.       Any liability based upon obligations created by this Settlement

                           Agreement;

                  i.       Any liability of individuals other than Carol Sanderson;

                  j.       Any liability for express or implied warranty claims or other claims for

                           defective or deficient products or services, including quality of goods and

                           services;

                  k.       Any liability for failure to deliver goods or services due; and

                  l.       Any liability for personal injury or property damage or for other

                           consequential damages arising from the Covered Conduct.

         8.      Your Eyes and Sanderson waive and shall not assert any defenses Your Eyes and

Sanderson may have to any criminal prosecution or administrative action relating to the Covered

Conduct that may be based in whole or in part on a contention that, under the Double Jeopardy

Clause in the Fifth Amendment of the Constitution, or under the Excessive Fines Clause in the




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Eighth Amendment of the Constitution, this Settlement Agreement bars a remedy sought in such

criminal prosecution or administrative action.

         9.      Your Eyes and Sanderson fully and finally release the United States, the State of

Connecticut, and their respective agencies, employees, servants, and agents from any claims in

their official and individual capacities (including attorney’s fees, costs, and expenses of every

kind and however denominated) that Your Eyes and Sanderson have asserted, could have

asserted, or may assert in the future against the United States, the State of Connecticut, their

respective agencies, employees, servants, and agents, related to the Covered Conduct and the

United States’ and the State of Connecticut’s investigation and prosecution thereof.

         10.      The Settlement Amount shall not be decreased as a result of the denial of claims

for payment now being withheld from payment by any Medicare contractor (e.g., Medicare

Administrative Contractor, fiscal intermediary, carrier), or any state payer, related to the Covered

Conduct; and Your Eyes and Sanderson agree not to resubmit to any Medicare carrier or

intermediary or any state payer any previously denied claims related to the Covered Conduct,

agree not to appeal any such denials of claims, and agree to withdraw any such pending appeals.

         11.     Your Eyes and Sanderson agree to the following, if applicable:

         a.       Unallowable Costs Defined: All costs (as defined in the Federal Acquisition

Regulation, 48 C.F.R. § 31.205-47; and in Titles XVIII and XIX of the Social Security Act,

42 U.S.C. §§ 1395-1395kkk-1 and 1396-1396w-5; and the regulations and official program

directives promulgated thereunder) incurred by or on behalf of Your Eyes and Sanderson, their

present or former officers, directors, employees, shareholders, and agents in connection with:

                  (1)      the matters covered by this Settlement Agreement;

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                  (2)      the United States’ and the State of Connecticut’s audit(s) and civil

                           investigation(s) of the matters covered by this Settlement Agreement;

                  (3)     Your Eyes and Sanderson’s investigation, defense, and corrective actions

                           undertaken in response to the United States’ and the State of Connecticut’s

                           audit(s) and civil investigation(s) in connection with the matters covered

                           by this Settlement Agreement (including attorney’s fees);

                  (4)      the negotiation and performance of this Settlement Agreement; and

                  (5)      the payments Your Eyes and Sanderson make to the United States and the

                           State of Connecticut pursuant to this Settlement Agreement

are unallowable costs for government contracting purposes and under the Medicare Program,

Medicaid Program, TRICARE Program, and Federal Employees Health Benefits Program

(FEHBP) (hereinafter referred to as Unallowable Costs).

         b.      Future Treatment of Unallowable Costs: Unallowable Costs shall be separately

determined and accounted for by Your Eyes and Sanderson, and Your Eyes and Sanderson shall

not charge such Unallowable Costs directly or indirectly to any contracts with the United States

or the State of Connecticut, or seek payment for such Unallowable Costs through any cost report,

cost statement, information statement, or payment request submitted by Your Eyes and

Sanderson or any of their subsidiaries or affiliates to the Medicare, Medicaid, ConnPACE,

TRICARE, or FEHBP Programs.

         c.       Treatment of Unallowable Costs Previously Submitted for Payment: Your Eyes

and Sanderson further agree that within 90 days of the Effective Date of this Settlement

Agreement they shall identify to applicable Medicare and TRICARE fiscal intermediaries,

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carriers, and/or contractors, and Medicaid, ConnPACE and FEHBP fiscal agents, any

Unallowable Costs (as defined in this Paragraph) included in payments previously sought from

the United States, or any State program, including, but not limited to, payments sought in any

cost reports, cost statements, information reports, or payment requests already submitted by Your

Eyes and Sanderson or any of their subsidiaries or affiliates, and shall request, and agree, that

such cost reports, cost statements, information reports, or payment requests, even if already

settled, be adjusted to account for the effect of the inclusion of the unallowable costs. Your Eyes

and Sanderson agree that the United States and the State of Connecticut, at a minimum, shall be

entitled to recoup from Your Eyes and Sanderson any overpayment plus applicable interest and

penalties as a result of the inclusion of such Unallowable Costs on previously-submitted cost

reports, information reports, cost statements, or requests for payment.

         Any payments due after the adjustments have been made shall be paid to the United

States and/or the State of Connecticut pursuant to the direction of the Department of Justice or

the Connecticut Attorney General’s Office, respectively, and/or the affected agencies. The

United States and the State of Connecticut reserve their rights to disagree with any calculations

submitted by Your Eyes and Sanderson or any of their subsidiaries or affiliates on the effect of

inclusion of Unallowable Costs (as defined in this Paragraph) on Your Eyes and Sanderson or

any of their subsidiaries or affiliates’ cost reports, cost statements, or information reports.

         d.       Nothing in this Settlement Agreement shall constitute a waiver of the rights of the

United States and/or the State of Connecticut to audit, examine, or re-examine Your Eyes and

Sanderson’s books and records to determine that no Unallowable Costs have been claimed in

accordance with the provisions of this Paragraph.

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         12.      This Settlement Agreement is intended to be for the benefit of the Parties only.

The Parties do not release any claims against any other person or entity, except to the extent

provided for in Paragraph 13 (waiver for beneficiaries paragraph), below.

         13.     Your Eyes and Sanderson agree that they waive and shall not seek payment for

any of the health care billings covered by this Settlement Agreement from any health care

beneficiaries or their parents, sponsors, legally responsible individuals, or third party payors

based upon the claims defined as Covered Conduct.

         14.     Your Eyes and Sanderson have provided sworn financial disclosure statements

and related financial documents ("Financial Statements") to the United States and the State of

Connecticut, and the United States and the State of Connecticut have relied on the accuracy and

completeness of those Financial Statements in reaching this Agreement. Your Eyes and

Sanderson warrant that the Financial Statements are thorough, accurate, and complete. Your

Eyes and Sanderson further warrant that they do not own or have an interest in any assets that

have not been disclosed in the Financial Statements, and that Your Eyes and Sanderson have

made no misrepresentations on, or in connection with, the Financial Statements. In the event the

United States or the State of Connecticut learn of asset(s) in which Your Eyes and Sanderson had

an interest at the time of this Agreement which were not disclosed in the Financial Statements, or

in the event the United States or the State of Connecticut learn of a misrepresentation by Your

Eyes and Sanderson on, or in connection with, the Financial Statements, and in the event such

nondisclosure or misrepresentation changes the estimated net worth of Your Eyes and Sanderson

set forth on the Financial Statements by 15% or more, the United States and the State of

Connecticut may at their option: (1) rescind this Agreement and file suit based on the Covered

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Conduct; (2) execute on the Stipulated Judgment; or (3) let the Agreement stand and collect the

full Settlement Amount plus one hundred percent (100%) of the value of the net worth Your

Eyes and Sanderson previously failed to disclose. Your Eyes and Sanderson agree not to contest

any collection action undertaken by the United States or the State of Connecticut pursuant to this

provision.

         15.     In the event that the United States and/or the State of Connecticut, pursuant to

paragraph 14 above, opts to rescind this Agreement, Your Eyes and Sanderson expressly agree

not to plead, argue or otherwise raise any defenses under the theories of statute of limitations,

laches, estoppel or similar theories, to any civil or administrative claims which (a) are filed by

the United States and/or the State of Connecticut within 120 days of written notification to Your

Eyes and Sanderson that this Agreement has been rescinded, and (b) relate to the Covered

Conduct.

         16.     Your Eyes and Sanderson warrant that they have reviewed their financial situation

and that they currently are solvent within the meaning of 11 U.S.C. §§ 547(b)(3) and

548(a)(1)(B)(ii)(I), and shall remain solvent following payment to the United States and the State

of Connecticut of the Settlement Amount. Further, the Parties warrant that, in evaluating

whether to execute this Agreement, they (a) have intended that the mutual promises, covenants,

and obligations set forth constitute a contemporaneous exchange for new value given to Your

Eyes and Carol Sanderson, within the meaning of 11 U.S.C. § 547(c)(1), and (b) conclude that

these mutual promises, covenants, and obligations do, in fact, constitute such a contemporaneous

exchange. Further, the Parties warrant that the mutual promises, covenants, and obligations set

forth herein are intended to and do, in fact, represent a reasonably equivalent exchange of value

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that is not intended to hinder, delay, or defraud any entity to which Your Eyes and Carol

Sanderson were or became indebted to on or after the date of this transfer, within the meaning of

11 U.S.C. § 548(a)(1).

         17.     If within 91 days of the Effective Date of this Agreement or of any payment made

under this Agreement, Your Eyes and Sanderson commence, or a third party commences, any

case, proceeding, or other action under any law relating to bankruptcy, insolvency,

reorganization, or relief of debtors (a) seeking to have any order for relief of Your Eyes and

Sanderson’s debts, or seeking to adjudicate Your Eyes and Sanderson as bankrupt or insolvent;

or (b) seeking appointment of a receiver, trustee, custodian, or other similar official for Your

Eyes and Sanderson or for all or any substantial part of Your Eyes and Sanderson’s assets, Your

Eyes and Sanderson agree as follows:

                  a.       Your Eyes and Sanderson’s obligations under this Agreement may not be

avoided pursuant to 11 U.S.C. § 547, and Your Eyes and Sanderson shall not argue or otherwise

take the position in any such case, proceeding, or action that: (i) Your Eyes and Sanderson’s

obligations under this Agreement may be avoided under 11 U.S.C. § 547; (ii) Your Eyes and

Sanderson were insolvent at the time this Agreement was entered into, or became insolvent as a

result of the payment made to the United States and the State of Connecticut; or (iii) the mutual

promises, covenants, and obligations set forth in this Agreement do not constitute a

contemporaneous exchange for new value given to Your Eyes and Sanderson.

                  b.       If Your Eyes and Sanderson’s obligations under this Agreement are

avoided for any reason, including, but not limited to, through the exercise of a trustee’s

avoidance powers under the Bankruptcy Code, the United States and the State of Connecticut, at

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their sole option, may rescind the releases in this Agreement and bring any civil and/or

administrative claim, action, or proceeding against Your Eyes and Sanderson for the claims that

would otherwise be covered by the releases provided in Paragraphs 3 and 4, above. Your Eyes

and Sanderson agree that (i) any such claims, actions, or proceedings brought by the United

States or the State of Connecticut are not subject to an “automatic stay” pursuant to 11 U.S.C. §

362(a) as a result of the action, case, or proceedings described in the first clause of this

Paragraph, and Your Eyes and Sanderson shall not argue or otherwise contend that the United

States’ and the State of Connecticut’s claims, actions, or proceedings are subject to an automatic

stay; (ii) Your Eyes and Sanderson shall not plead, argue, or otherwise raise any defenses under

the theories of statute of limitations, laches, estoppel, or similar theories, to any such civil or

administrative claims, actions, or proceeding that are brought by the United States and/or the

State of Connecticut within 120 calendar days of written notification to Your Eyes and

Sanderson that the releases have been rescinded pursuant to this Paragraph, except to the extent

such defenses were available on the Effective Date of this Agreement; and (iii) the United States

has a valid claim against Your Eyes and Sanderson in the amount of $526,977.00, and the United

States and the State of Connecticut may pursue their claims in the case, action, or proceeding

referenced in the first clause of this Paragraph, as well as in any other case, action, or

proceeding.

                  c.       Your Eyes and Sanderson acknowledge that their agreements in this

Paragraph are provided in exchange for valuable consideration provided in this Agreement.

         18.     Each Party shall bear its own legal and other costs incurred in connection with

this matter, including the preparation and performance of this Settlement Agreement.

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           19.   Each Party and signatory to this Settlement Agreement represents that it freely

and voluntarily enters in to this Settlement Agreement without any degree of duress or

compulsion.

           20.    This Settlement Agreement is governed by the laws of the United States and the

State of Connecticut. The exclusive jurisdiction and venue for any dispute relating to this

Settlement Agreement is the United States District Court for the District of Connecticut, except

that disputes only between the State of Connecticut and Your Eyes and Carol Sanderson will be

resolved in Superior Court for the Judicial District of Hartford, Connecticut. For purposes of

construing this Settlement Agreement, this Settlement Agreement shall be deemed to have been

drafted by all Parties to this Settlement Agreement and shall not, therefore, be construed against

any Party for that reason in any subsequent dispute.

           21.    This Settlement Agreement constitutes the complete agreement between the

Parties. This Settlement Agreement may not be amended except by written consent of the

Parties.

           22.   The undersigned counsel represent and warrant that they are fully authorized to

execute this Settlement Agreement on behalf of the persons and entities indicated below.

           23.    This Settlement Agreement may be executed in counterparts, each of which

constitutes an original and all of which constitute one and the same Settlement Agreement.

           24.    This Settlement Agreement is binding on Your Eyes and Sanderson’s successors,

transferees, heirs, and assigns.

           25.    All parties consent to the United States’ and the State of Connecticut’s disclosure

of this Settlement Agreement, and information about this Settlement Agreement, to the public.

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         26.      This Settlement Agreement is effective on the date of signature of the last

signatory to the Settlement Agreement (Effective Date of this Settlement Agreement).

Facsimiles and electronic transmissions of signatures shall constitute acceptable, binding

signatures for purposes of this Settlement Agreement.




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                                  THE UNITED STATES OF AMERICA

                                                          Digitally signed by JOHN
                                          JOHN            HUGHES
           3/26/2020
DATED:                                BY: ______________________________
                                          HUGHES          Date: 2020.03.26
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                                            JOHN B. HUGHES
                                            Assistant United States Attorney
                                            Chief, Civil Division
                                            District of Connecticut
                                                                 Digitally signed by SARA
                                                                 KACZMAREK
           3/27/2020                          SARA KACZMAREK Date: 2020.03.27
DATED:                                By:                        08:58:07 -04'00'

                                             SARA G. KACZMAREK
                                             Assistant United States Attorney
                                             District of Connecticut


DATED:                                BY: _______________________________
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                                               _      ____________
                                                                 __
                                              LISA M. RE
                                              Assistant Inspector General
                                                                  G       for Legal Affairs
                                              Office of Counsel to the Inspector General
                                              Office of Inspector General
                                                                  G
                                              United States Depart
                                                            Department of Health and Human Services




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